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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-02103-PAB-KLM

  EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,

           Plaintiff,

  and

  IRAQ ABADE, et al.,

           Plaintiffs-Intervenors,

  v.

  JBS USA, LLC, d/b/a JBS SWIFT & COMPANY,

           Defendant.


          PLAINTIFF EEOC’S UNOPPOSED MOTION FOR STAY AND EXTENSION


           Plaintiff Equal Employment Opportunity Commission (“EEOC”) moves this Court to

  stay this litigation and to extend any future deadlines due to the shutdown of operations of the

  Federal Government and lapse in appropriations.

        1. The EEOC is the Federal Government agency charged by Congress with interpreting,

           administering, and enforcing the Federal Government’s employment discrimination laws.

        2. Congress failed to pass a continuing resolution on Friday January 19, 2018, and as a

           result, appropriations for funding Federal Government operations lapsed as of midnight

           on January 19, 2018. The Federal Government is now shut down.

        3. As a Federal Government agency, the EEOC is subject to the federal Antideficiency Act,

           which provides in part that an “officer or employee of the United States Government . . .
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         may not . . . involve [the] government in a contract or obligation for the payment of

         money before an appropriation is made unless authorized by law” and “may not accept

         voluntary services . . . or employ personal services exceeding that authorized by law

         except for emergencies involving the safety of human life or the protection of property.”

         31 U.S.C. § 1341(a)(1)(B); Id. § 1342. Such emergencies “do[ ] not include ongoing,

         regular functions of the government the suspension of which would not imminently

         threaten the safety of human life or the protection of property.” Id. § 1342.

     4. Because of the lapse in appropriations of Federal Government funding and the

         requirements of the Antideficiency Act, EEOC lawyers and legal support staff are

         prohibited from engaging in litigation activities as of midnight on January 19, 2018, with

         the exception of a four-hour, wind-down period on Monday, January 22, 2018.

     5. Accordingly, the EEOC seeks an order to stay this litigation for the duration of the lapse

         in agency appropriations and to extend all deadlines that may be imposed during the lapse

         in appropriations for the same time period as the lapse. For example, if the EEOC

         remains without funding from January 20, 2018 through January 27, 2018, then any

         deadlines occurring during that period would be extended by seven days.

     6. Counsel for the EEOC has contacted counsel for Defendant regarding this motion and

         Defendant does not oppose this motion.

         WHEREFORE, the EEOC requests that this Court enter an Order staying the litigation of

  this matter due to a lapse in appropriations, lifting the stay upon restoration of appropriations,

  and extending all deadlines which occur during the term of any lapse in appropriations by the

  same time period as the lapse.


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  Dated: January 22, 2018



                                     Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 22nd day of January 2018, the foregoing was electronically
  filed via CM/ECF, which will send notification of such filing to the following email address:

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